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 3
 4                        UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
 6   UNITED STATES OF AMERICA,          )         RELATED CASE ORDER
                                        )
 7                  Plaintiff,          )         2:09-cv-00182-WBS-KJM
                                        )
 8             v.                       )
                                        )
 9   APPROXIMATELY $18,220.00 IN U.S.   )
     CURRENCY,                          )
10                                      )
                    Defendant.          )
11                                      )
                                        )
12   UNITED STATES OF AMERICA,          )         2:08-cr-00392-GEB
                                        )
13                  Plaintiff,          )
                                        )
14             v.                       )
                                        )
15   JUAN GABRIEL ALVAREZ, et al.,      )
                                        )
16                  Defendants.         )
     ___________________________________)
17                                      )
                                        )
18   UNITED STATES OF AMERICA,          )         2:08-cr-00570-GEB
                                        )
19                  Plaintiff,          )
                                        )
20             v.                       )
                                        )
21   JUAN GABRIEL ALVAREZ; MANUEL       )
     AGUILAR-GODINEZ,                   )
22                                      )
                    Defendants.         )
23   ___________________________________)
24              The United States filed a “Notice of Related Cases”
25   document in which it states the above civil action arises from the
26   same law enforcement investigation involved in the above criminal
27   actions.   Since the actions are related under Local Rule 83-123(a),
28   the civil action is reassign to the district judge to whom the
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 1   criminal actions are assigned.        This reassignment is in accordance
 2   with the practice of this court of assigning later filed actions
 3   to the judge to whom an earlier filed action is assigned.
 4                Henceforth, the caption on documents filed in the
 5   reassigned case shall show the initials “GEB-KJM” instead of the
 6   other judge’s initials.       Further, any dates currently set in the
 7   reassigned civil case are VACATED and the parties in the reassigned
 8   civil action are referred to the attached Order Setting Status
 9   (Pretrial Scheduling) Conference.
10                IT IS FURTHER ORDERED that the Clerk of the Court shall
11   make appropriate adjustment in the assignment of civil cases to
12   compensate for this reassignment.
13                IT IS SO ORDERED.
14   Dated:    February 13, 2009
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16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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